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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION

PEN AMERICAN CENTER, INC.,
et al.,

       Plaintiffs,

v.                                             Case No. 3:23cv10385-TKW-ZCB

ESCAMBIA COUNTY SCHOOL
BOARD,

      Defendant.
_________________________________/

                                      ORDER

      This case is before the Court based on the motions for leave to appear pro hac

vice filed by attorneys Nicholas E. Baer (Doc. 49), C. William Phillips (Doc. 50),

and Jayni F. Hein (Doc. 51). The Court finds based on the motions and supporting

documentation that Messrs. Baer and Phillips and Ms. Hein meet the requirements

of Local Rule 11.1 to appear pro hac vice. The Court also notes that the applicable

fees have been paid. Accordingly, it is

      ORDERED that the motion is GRANTED, and attorneys Nicholas E. Baer,

C. William Phillips, and Jayni F. Hein are authorized to appear pro hac vice for amici

Florida State Conference of the NAACP and Equality Florida Action, Inc.
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DONE and ORDERED this 2nd day of October, 2023.




                             _________________________________
                             T. KENT WETHERELL, II
                             UNITED STATES DISTRICT JUDGE




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